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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

   UNITED STATES OF AMERICA,
          Plaintiff,
                 v.                               CRIMINAL FILE
                                                  NO. 1:94-CR-387-3-TWT
   DENNIS SIMOY,
          Defendant.


                                          ORDER

         This is a criminal action.        It is before the Court on the Report and

Recommendation [Doc. 228] of the Magistrate Judge recommending denying the

Defendant’s Motion to Vacate Sentence [Doc. 221] as untimely. No objections to

the Report and Recommendation have been filed. The Court approves and adopts

the Report and Recommendation as the judgment of the Court. The Defendant’s

Motion to Vacate Sentence [Doc. 221] is DENIED. No Certificate of Appealability

will be issued.

         SO ORDERED, this 5 day of May, 2021.



                                      /s/Thomas W. Thrash
                                      THOMAS W. THRASH, JR.
                                      United States District Judge

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